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  Attorneys for Plaintiff

                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                            MISSOULA DIVISION
___________________________________________
                                    )
TIKTOK INC.,                        )
                                    )
                        Plaintiff,  )
                                    )         CV-23-61-DLC
             v.                     )
                                    )         ACKNOWLEDGMENT AND
AUSTIN KNUDSEN, in his official )             ACCEPTANCE OF PRO HAC VICE
capacity as Attorney General of the )         ADMISSION
State of Montana,                   )
                                    )
                        Defendant. )
_______________________________)
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      I, Alexander A. Berengaut, admitted pro hac vice on May 24, 2023, hereby

acknowledge receipt of and accept the Court’s Order (Doc. 7), and I hereby affirm

the following conditions:

      1. Local counsel, Rob Cameron and Nathan D. Bilyeu of Jackson, Murdo &

Grant, P.C., serve as co-lead counsel;

      2. In accordance with the Court’s Order of May 24, 2023, I hereby confirm

that I will do my own work, do my own writing, sign my own pleadings, motions

and briefs, and will appear and participate personally in this proceeding;

      3. I have registered in the Court’s electronic filing system (CM-ECF);

      4. Local counsel, Rob Cameron and Nathan D. Bilyeu of Jackson, Murdo &

Grant, P.C., will, at all times and without exception, perform and carry out all duties

and responsibilities required of local counsel in compliance with L.R. 83.1(d)(7);

      5. I have authority to make any and all decisions related to the administration

of this case and will act as the primary point of contact for the opposing party; and

      6. Admission is personal to me; it is not an admission of the Covington &

Burling law firm.




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DATED: May 26, 2023


                                         /s/ Alexander A. Barengaut
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